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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                                    CASE NO.: 19-26674-RAM

 LEANA I. ADORNO                                           CHAPTER 13
 AKA LEANA IDZA ADORNO
 AKA LEANA IDZA ADORNO MARTINEZ,

 DEBTOR(S)
 _________________________________________/

      RESPONSE TO DEBTOR’S OBJECTION TO NOTICE OF POSTPETITION
               MORTGAGE FEES, EXPENSES AND CHARGES

       Creditor, Carrington Mortgage Services, LLC as Servicer for THE BANK OF NEW

YORK MELLON, F/K/A THE BANK OF NEW YORK AS TRUSTEE FOR THE

CERTIFICATEHOLDERS OF CWABS, INC., ASSET-BACKED CERTIFICATES, SERIES

2004-5 (the “Creditor”), by and through counsel, responds in opposition to the Debtor’s Objection

to Notice of Postpetition Mortgage Fees, Expenses and Charges (Doc. No.34) and states:

       1.     The fees should not be considered “unreasonable and excessive” as the fees are set

by the Federal National Mortgage Association. The current allowable fee total for a Chapter 13

Plan Review and a Chapter 13 Proof of Claim is $950.00 and the allowable fee total for an

Objection to the Chapter 13 Plan is $550.00 as seen on the Fannie Mae fee schedule attached hereto

as Exhibit “A”. Additionally, invoices for the Chapter 13 Plan Review, Chapter 13 Proof of Claim

and Objection to Chapter 13 Plan are attached hereto as Exhibit “B”.

       2.     Moreover, as the Creditor properly charged the allowable $300.00 for a Chapter 13

Plan Review and the allowable $650.00 for a Chapter 13 Proof of Claim on February 27, 2020 and

the allowable $550 for an Objection to Chapter 13 Plan on January 30, 2020 for a combined total

of $1500.00, the Debtor’s Objection should be denied.
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       WHEREFORE, the Creditor respectfully requests that the Court enter an Order approving

the Notice of Postpetition Mortgage Fees, Expenses and Charges, and denying Debtor’s Objection

to the Notice of Postpetition Mortgage Fees, Expenses and granting any other relief deemed just

and proper.

                                              Respectfully submitted by,

                                              VAN NESS LAW FIRM, PLC
                                              1239 E. Newport Center Drive, Suite 110
                                              Deerfield Beach, FL 33442
                                              Phone (954) 571-2031

                                              /s/ Maya Rubinov
                                              Maya Rubinov, Esquire
                                              Florida Bar No.: 99986
                                              bankruptcy@vanlawfl.com

                                 CERTIFICATE OF SERVICE

       I CERTIFY that a true copy of the foregoing was served on May 1, 2020 by CM/ECF

electronic filing to all registered parties in this matter and by U.S. Mail to the non-registered party

or parties below.

                                              Respectfully submitted by,

                                              VAN NESS LAW FIRM, PLC
                                              1239 E. Newport Center Drive, Suite 110
                                              Deerfield Beach, FL 33442
                                              Phone (954) 571-2031

                                              /s/ Maya Rubinov
                                              Maya Rubinov, Esquire
                                              Florida Bar No.: 99986
                                              bankruptcy@vanlawfl.com

MAILING MATRIX:
LEANA I. ADORNO
4601 NW 178TH STREET
OPA LOCKA, FL 33055
AKA LEANA IDZA ADORNO
AKA LEANA IDZA ADORNO MARTINEZ
                             Case 19-26674-RAM                   Doc 44        Filed 05/04/20     Page 3 of 6



Allowable Fees – CHAPTER 13 BANKRUPTCY

 Allowable        Maximum            Applicable
                                     Dates             Notes
 Fee Type         Allowable

                                     Services
                                     rendered on
                  $1,050
                                     or after
                                     12/01/2019
 Motion for
 Relief                                                See Chapter 7 Motion for Relief
                                     Services
                                     rendered
                  $850               11/01/2013 –
                                     11/30/2019




                                                       These fees include:
                                     Services
                                                       x   Communicating with the servicer to obtain the necessary information about the
                                     rendered on
                  $950                                     debtor’s loan(s) and backup documentation for the POC;
                                     or after
                                     12/01/2019        x   Preparing and filing the POC form, and up to one amended POC form;
                                                       x   Verifying that the POC is properly docketed;
 Proof of                                              x   Monitoring the docket, and obtaining and reviewing the original and up to two
 Claim                                                     amended Plans;
 Preparation                                           x   Analyzing Plan(s);
 & Plan                                                x   Reviewing any disclosure statement and ballot (if applicable); and
 Review
                                     Services          x   Communicating and negotiating with the Servicer, any trustee and debtor’s
                                     rendered              counsel.
                  $650               11/01/2013 -
                                     11/30/2019        Fannie Mae will authorize excess fees in unusually complex cases in accordance
                                                       with our usual excess fee approval process. The fee for POC & Plan Review covers
                                                       all Fannie Mae mortgage loans involved in a proceeding.




*Fannie Mae Allowable Attorney Fees are available at www.fanniemae.com/singlefamily/servicing




                   EXHIBIT "A"
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Allowable Fees – CHAPTER 13 BANKRUPTCY (continued)

 Allowable          Maximum            Applicable
                                       Dates              Notes
 Fee Type           Allowable
                                                          These fees include the legal services generally required in connection with the
                                                          prosecution of an Objection to Plan, including communications with the servicer,
                                       Services           legal research, preparation and filing of objection papers, negotiations with
                                       rendered on        debtor’s counsel and trustee, attendance at up to two hearings, and preparing a
                    $550
                                       or after           stipulation or order.
                                       12/01/2019

 Objection to                                             This allowable fee covers all Objections to the original Plan and up to two
 Plan                                                     amended Plans, regardless of the number of Objections required, the number of
                                                          debtors involved, or the number of Fannie Mae loans involved.
                                       Services
                                       rendered
                    $500                                  Fees for any legal work related to Objections to the third and subsequent
                                       11/01/2013 –
                                       11/30/2019         Amended Plans, litigated or contested Objections, or Objections related to new
                                                          factual or legal issues raised in any amended Plans, will require excess fee
                                                          approval.


                                       All active files
                    $125               effective
                                       08/16/2017 or      Fannie Mae is clarifying that this fee includes all legal services provided by a law
                                       later              firm in compliance with Bankruptcy Rule 3002.1 concerning notices of payment
 Payment                                                  change amounts. The allowable fee covers communications with the servicer;
 Change                                                   drafting, serving and filing the requisite bankruptcy form (BK Form B10S1); and
 Notification                                             verifying that the Notice is docketed properly. This fee is allowed for each
                                       Services
                                                          occurrence of a payment change, even if notices must be given to multiple
                                       rendered on
                                                          debtors.
                                       or after
                    $50
                                       12/01/2011
                                       and files
                                       closed prior to
                                       08/16/2017
                                                          This fee includes all legal services provided by bankruptcy counsel in compliance
                                                          with Bankruptcy Rule 3002.1 concerning notices of post-petition fees, charges, or
                                       All active files
                                                          expenses that the creditor seeks to collect from the debtor. This allowable fee
                                       effective
                    $150                                  includes communications with the servicer; verifying the validity of the fees,
                                       08/16/2017 or
                                                          expenses, or charges being sought; drafting, serving and filing the requisite form
                                       later
 Notice of                                                (Form B10S2); and verifying that the Notice is docketed properly.
 Fees,
 Expenses,                             Services           This fee is allowed for each Notice of Fees, Expenses and Charges, even if
 and Charges                           rendered on        notices must be given to multiple debtors. However, the fee is limited to notices
                                       or after           for fees, expenses and charges that aggregate $150 or more. If a servicer incurs
                    $100               11/01/2013         out-of-pocket expenses that aggregate less than $150, (a) a notice may be filed at
                                       and files          the servicer’s expense as a cost of servicing or (b) attempts to collect from the
                                       closed prior to    borrower may be waived and reimbursement may be sought by the servicer from
                                       08/16/2017         Fannie Mae in accordance with the provisions of the Servicing Guide.


*Fannie Mae Allowable Attorney Fees are available at www.fanniemae.com/singlefamily/servicing




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© 2020 Fannie Mae. Trademarks of Fannie Mae.                                                                                                     8
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